        Case 2:19-bk-14989-WB Doc 427 Filed 11/08/19 Entered 11/08/19 21:31:02                                                 Desc
                            Imaged Certificate of Notice Page 1 of 5
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 19-14989-WB
Scoobeez                                                                                                   Chapter 11
              Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-2                  User: admin                        Page 1 of 2                          Date Rcvd: Nov 06, 2019
                                      Form ID: pdf042                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 08, 2019.
db             +Scoobeez,   3463 Foothill Blvd.,   Glendale, CA 91214-1856

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 08, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 6, 2019 at the address(es) listed below:
              Akop J Nalbandyan    on behalf of Creditor Roy Anthony Catellanos jnalbandyan@LNtriallawyers.com,
               cbautista@LNtriallawyers.com
              Akop J Nalbandyan    on behalf of Interested Party    INTERESTED PARTY
               jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
              Alvin Mar    on behalf of U.S. Trustee     United States Trustee (LA) alvin.mar@usdoj.gov,
               dare.law@usdoj.gov
              Anthony J Napolitano    on behalf of Creditor    Hillair Capital Management LLC
               anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
              Aram Ordubegian     on behalf of Interested Party    Courtesy NEF ordubegian.aram@arentfox.com
              Ashley M McDow    on behalf of Plaintiff    Scoobeez, Inc. amcdow@foley.com,
               sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
              Ashley M McDow    on behalf of Debtor    Scoobur LLC amcdow@foley.com,
               sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
              Ashley M McDow    on behalf of Debtor    Scoobeez Global, Inc. amcdow@foley.com,
               sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
              Ashley M McDow    on behalf of Debtor    Scoobeez amcdow@foley.com,
               sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
              David Brian Lally    on behalf of Attorney Peter and Barbara Ro Trustees of the Rosenthal Family
               Trust UTD 3/25/1988 davidlallylaw@gmail.com
              David Brian Lally    on behalf of Attorney Grigori Sedrakyan davidlallylaw@gmail.com
              David L. Neale    on behalf of Interested Party    Levene, Neale, Bender, Yoo & Brill L.L.P.
               dln@lnbyb.com
              David L. Neale    on behalf of Creditor Committee    Official Committee of Unsecured Creditors
               dln@lnbyb.com
              David L. Neale    on behalf of Attorney    Official Committee Of Unsecured Creditors dln@lnbyb.com
              Eric D Winston    on behalf of Creditor    Hillair Capital Management LLC
               ericwinston@quinnemanuel.com
              Eric D Winston    on behalf of Creditor    Hillair Capital Management, LLC
               ericwinston@quinnemanuel.com
              Eric K Yaeckel    on behalf of Creditor Arturo Vega yaeckel@sullivanlawgroupapc.com
              Gregory M Salvato    on behalf of Interested Party    INTERESTED PARTY
               gsalvato@salvatolawoffices.com,
               calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
              Gregory M Salvato    on behalf of Creditor Azad Baban gsalvato@salvatolawoffices.com,
               calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
              Hamid R Rafatjoo    on behalf of Creditor Shahan Ohanessian hrafatjoo@raineslaw.com,
               bclark@raineslaw.com;cwilliams@raineslaw.com
              Jeffrey S Shinbrot    on behalf of Creditor Shahan Ohanessian jeffrey@shinbrotfirm.com,
               sandra@shinbrotfirm.com
              Jennifer L Nassiri    on behalf of Creditor    Hillair Capital Management, LLC
               jennifernassiri@quinnemanuel.com
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                              Form ID: pdf042              Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jennifer L Nassiri    on behalf of Creditor    Hillair Capital Management LLC
               jennifernassiri@quinnemanuel.com
              John-Patrick M Fritz    on behalf of Interested Party    Levene, Neale, Bender, Yoo & Brill L.L.P.
               jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              John-Patrick M Fritz    on behalf of Creditor Committee    Official Committee of Unsecured
               Creditors jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              John-Patrick M Fritz    on behalf of Plaintiff    Official Committee of Unsecured Creditors of the
               Estates of Scoobeez and Scoobeez Global, Inc. jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              John-Patrick M Fritz    on behalf of Attorney    Official Committee Of Unsecured Creditors
               jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              Kevin H Morse    on behalf of Creditor    Avitus Group, Inc. kmorse@clarkhill.com,
               blambert@clarkhill.com
              Kimberly Walsh     on behalf of Creditor    Texas Comptroller of Public Accounts
               bk-kwalsh@texasattorneygeneral.gov
              Rejoy Nalkara     on behalf of Creditor    BMW Financial Services NA, LLC, c/o AIS Portfolio
               Services, LP rejoy.nalkara@americaninfosource.com
              Richard T Baum    on behalf of Stockholder    Rosenthal Family Trust rickbaum@hotmail.com,
               rickbaum@ecf.inforuptcy.com
              Richard W Esterkin    on behalf of Creditor    Amazon Logistics, Inc.
               richard.esterkin@morganlewis.com
              Richard W Esterkin    on behalf of Defendant    Amazon Logistics, Inc.
               richard.esterkin@morganlewis.com
              Riebert Sterling Henderson    on behalf of Interested Party    Courtesy NEF
               shenderson@gibbsgiden.com
              Shane J Moses    on behalf of Plaintiff    Scoobeez, Inc. smoses@foley.com
              Shane J Moses    on behalf of Debtor    Scoobeez smoses@foley.com
              Stacey A Miller    on behalf of Creditor    Porsche Financial Services, Inc. dba Bentley Financial
               Services smiller@tharpe-howell.com
              Stacey A Miller    on behalf of Creditor    Porsche Financial Services, Inc.
               smiller@tharpe-howell.com
              Stacey A Miller    on behalf of Creditor    Porsche Leasing Ltd. smiller@tharpe-howell.com
              Steven M Spector    on behalf of Creditor    Hillair Capital Management LLC sspector@buchalter.com,
               IFS_efiling@buchalter.com;salarcon@buchalter.com
              United States Trustee (LA)    ustpregion16.la.ecf@usdoj.gov
              Vivian Ho     on behalf of Creditor    FRANCHISE TAX BOARD BKClaimConfirmation@ftb.ca.gov
                                                                                               TOTAL: 42
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     1 John B. Quinn (Bar No. 90378)
       johnquinn@quinnemanuel.com
     2 Crystal Nix-Hines (Bar No. 2482073)
       crystalnixhines@quinnemanuel.com                                                FILED & ENTERED
     3 Eric Winston (Bar No. 202407)
       ericwinston@quinnemanuel.com
     4 Jennifer L. Nassiri (Bar No. 209796)                                                  NOV 06 2019
       jennifernassiri@quinnemanuel.com
     5 QUINN EMANUEL URQUHART & SULLIVAN, LLP                                           CLERK U.S. BANKRUPTCY COURT
       865 S. Figueroa St., 10th Floor                                                  Central District of California
                                                                                        BY penning DEPUTY CLERK
     6 Los Angeles, CA 90017
       Telephone: (213) 443-3000
     7 Facsimile: (213) 443-3100

     8 Attorneys for Secured Creditor,
       HILLAIR CAPITAL MANAGEMENT, LLC
     9
                               UNITED STATES BANKRUPTCY COURT
    10
                                CENTRAL DISTRICT OF CALIFORNIA
    11
                                        LOS ANGELES DIVISION
    12
       In re                                      CASE NO. 2:19-by-14989-WB
    13                                            Jointly Administered:
       SCOOBEEZ, et al.1                          2:19-bk-14991-WB; 2:19-bk-14997-WB
    14
              Debtors and Debtors in Possession.  Chapter 11
    15
       Affects:                                   [PROPOSED] ORDER DENYING
    16                                            $0$=21/2*,67,&6¶MOTION FOR A
            All Debtors                          PROTECTIVE ORDER QUASHING
    17                                            DOCUMENT REQUESTS AND
              Scoobeez, ONLY                      DEPOSITION NOTICES PROPOUNDED
    18                                            BY HILLAIR CAPITAL MANAGEMENT,
              Scoobeez Global, Inc., ONLY         LLC.
    19
              Scoobur, LLC, ONLY                  Date: November 4, 2019
    20                                            Time: 2:00 p.m.
                                                  Ctrm: 1375
    21                                                    United States Bankruptcy Court
                                                          Edward Roybal Federal Building
    22                                                    255 E. Temple Street
                                                          Los Angeles, CA 90012
    23                                                    The Hon. Julia Brand
    24
    25
    26
              1
                  The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
    27 6FRREHH]   6FRREHH] *OREDO ,QF   DQG 6FRREXU //&   7KH 'HEWRUV¶ DGGUHVV LV  )RRWKLOO
         Boulevard, Glendale, California 91214.
    28


                           ORDER DENYING $0$=21/2*,67,&6¶027,21)253527(&7,9(25'(5
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     1         On November 4, 2019 at 2:00 p.m. in Courtroom 1375 of the above entitled Court, with

     2 the Honorable Julia Brand, judge presiding, a hearing was conducted on $PD]RQ/RJLVWLFV,QF¶V

     3 Motion For a Protective Oder Quashing Document Requests and Deposition Notices Propounded

     4 by Hillair Capital Management, LLC ³Motion´ filed on October 31, 2019 [ECF No.405].

     5         The Court having read and considered the Motion, the opposition to the Motion (the

     6 ³Opposition´ ILOHGE\+LOODLU&DSLWDO0DQDJHPHQW//& ³Hillair´) [ECF No. 413], all pleadings

     7 and papers filed in connection with the Motion and Opposition, the arguments of counsel present

     8 at the hearing; and the Court finding that notice and service of the Motion was proper and in

     9 DFFRUGDQFHZLWKWKLV&RXUW¶VOrder Granting Application and Setting Hearing on Shortened

    10 Notice entered on November 1, 2019 [ECF No. 407] and good cause appearing therefor;
    11
         IT IS HEREBY ORDERED THAT:
    12
                   1. The Motion is denied.
    13
                   2. The Court retains jurisdiction to interpret and enforce the terms of this Order.
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                                                        ###
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    24 Date: November 6, 2019
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                      ORDER DENYING $0$=21/2*,67,&6¶027,21)253527(&7,9(25'(5
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     1
         Approved as to form:
     2
         Morgan, Lewis & Brockius LLP
     3

     4 By: /s/ Richard Esterkin___
       Richard Esterkin
     5 Attorneys for Amazon Logistics, Inc.

     6
         Quinn Emanuel Urquhart & Sullivan, LLP
     7

     8 By: /s/ Eric Winston_____
       Eric Winston
     9 Attorneys for Hillair Capital Management, LLC

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                     ORDER DENYING $0$=21/2*,67,&6¶027,21)253527(&7,9(25'(5
